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              APPENDIX E – RESPONSE TO PLAINTIFFS’ STATE LAW ARGUMENTS & APPENDIX 2

 Defendants’ Argument         Plaintiffs’ Authority Summarized                      Plaintiffs’ Authority Distinguished
Plaintiffs who made          Plaintiffs attempt to distinguish only   District of Columbia: A court recently distinguished Klank
purchases for business or    one of defendants’ cases and instead     and rejected the resale argument. See In re Crop Prot. Prods.
commercial purposes are      argue that commercial purchasers         Loyalty Program Antitrust Litig., No. 1:23-md-3062, 2025 WL
not proper plaintiffs        who do not purchase with the intent      315835, at *22 (M.D.N.C. Jan. 28, 2025) (dismissing D.C.
under the consumer           to resell are proper plaintiffs. (Opp.   Consumer Protection Act claim because plaintiffs did “not
protection statutes of the   at 41 & Appendix 2.A (citing Adam        allege that [products were] used for anything other than for
District of Columbia,        A. Weschler & Son, Inc. v. Klank,        business reasons–i.e., that [p]laintiffs are commercial farmers
Minnesota, Missouri,         561 A.2d 1003, 1005 (D.C. 1989)          rather than growing crops for personal use”).
Montana, Nevada, and         (D.C.); HEMCO Corp. v. ADP, Inc.,
Oregon. (Br. at 43-44.)      No. 12-00407-CV-W-BP, 2012 WL            Minnesota: In Dahl and Advanced Training Systems, the
                             13027553, at *3 (W.D. Mo. Sept.          courts did not consider whether Minnesota’s consumer
                             25, 2012) (Missouri); In re New          protection statute excludes commercial plaintiffs. Dahl, 742
                             Motor Vehicles Canadian Exp.             N.W.2d 186; Advanced Training Sys., 352 N.W.2d 1.
                             Antitrust Litig., 350 F. Supp. 2d 160,
                             193 (D. Me. 2004) (Montana); Ave.        Missouri: In HEMCO, the court concluded that plaintiff’s
                             Lofts Condo. Owners’ Ass’n v.            purchase was “primarily for business purposes,” and noted that
                             Victaulic Co., 24 F. Supp. 3d 1010,      courts have rejected Missouri Merchandising Practices Act
                             1016 (D. Or. 2014) (Oregon)).)           claims “when it is clear on the face of the pleadings that
                                                                      plaintiffs . . . made purchases explicitly labeled for ‘business.’”
                             Plaintiffs also cite case law holding    2012 WL 13027553, at *3-4.
                             that consumer protection statutes
                             should be broadly applied and argue      Montana: New Motor Vehicles does not rely on Montana
                             that this broad application should       authority. 350 F. Supp. 2d at 193. Courts that have analyzed
                             cover commercial purchasers. (Opp.       this issue closely hold that allegations of purchases for
                             at 43 & Appendix 2.A (citing Dahl        business purposes do not state a viable claim under Montana’s
                             v. R.J. Reynolds Tobacco Co., 742        Consumer Protection Statute. See, e.g., Miami Prods. &
                             N.W.2d 186, 196 (Minn. Ct. App.          Chem. Co. v. Olin Corp., 546 F. Supp. 3d 223, 234 (W.D.N.Y.
                             2007) (Minnesota); Advanced              2021) (“The Supreme Court of Montana has held that the
                             Training Sys., Inc. v. Caswell Equip.    purchase of goods ‘entirely for business purposes’ does not
                             Co., 352 N.W.2d 1 (Minn. 1984)           ‘not come within the statutory definition of a purchase or lease
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Defendants’ Argument         Plaintiffs’ Authority Summarized                      Plaintiffs’ Authority Distinguished
                            (Minnesota); R.J. Reynolds Tobacco       of goods primarily for personal, family or household
                            Co. v. Eighth Jud. Dist. Ct. in & for    purposes.’” (citation omitted)); In re Auto. Parts Antitrust
                            Cnty. of Clark, 514 P.3d 425, 430-31     Litig., No. 12-MD-02311, 2013 WL 2456612, at *30 (E.D.
                            (Nev. 2022) (Nevada)).)                  Mich. June 6, 2013) (finding no basis for plaintiff auto dealers
                                                                     to proceed under Montana consumer protection law because
                              Finally, though plaintiffs’ Appendix   they did not purchase for personal use); In re Crop Prot., 2025
                              2.A points to allegations involving    WL 315835, at *22 (dismissing Montana claim when plaintiffs
                              plaintiffs Deneige Kapor (Montana),    only alleged that they used products for business reasons).
                              Daniel Rosenbaum (Nevada), Robert
                              Jones (Nevada), and Russell Deman Nevada: In R.J. Reynolds, the plaintiffs’ purchases were for
                              (Oregon), defendants have not           personal, not commercial, use. 514 P.3d at 430-31.
                              sought to dismiss their claims on this
                              ground. (See Br. at 44.)                Oregon: Avenue Lofts holds that claims related to goods
                                                                      purchased for commercial use or resale should be dismissed.
                                                                      24 F. Supp. 3d at 1016. The weight of authority favors this
                                                                      approach. See, e.g., In re Crop. Prot., 2025 WL 315835, at
                                                                      *22 (dismissing claims under Oregon’s consumer protection
                                                                      statute when plaintiffs did not allege that products were “used
                                                                      for anything other than for business reasons”); In re Broiler
                                                                      Chicken Antitrust Litig., No. 16 C 8637, 2023 WL 5227130, at
                                                                      *3 (N.D. Ill Aug. 15, 2023) (concluding that Oregon consumer
                                                                      protection statute applies only to “consumer” transactions, not
                                                                      purchases for “business purposes”).
Plaintiffs fail to allege in- Plaintiffs cite cases (Opp. at 46-47,   Plaintiffs here have not alleged any anticompetitive conduct by
state conduct or injury       Appendix 2.B) in which courts have defendants that took place in Alabama, Mississippi, or West
sufficient to state a claim held that plaintiffs sufficiently pled    Virginia.
under the Alabama,            intrastate activity when “the antitrust
Mississippi, or West          impact . . . was felt within each       Alabama: Blue Cross does not analyze Alabama law and thus
Virginia antitrust laws.      state,” see, e.g., Blue Cross & Blue    does not support plaintiffs’ argument. See 712 F. Supp. 3d at
(Br. at 41-42.)               Shield of Vt. v. Teva Pharma. Indus., 548. Courts that have analyzed Alabama law conclude that the
                              Ltd., 712 F. Supp. 3d 499, 548 (D.      alleged misconduct must occur within the geographic
                              Vt. 2024) (Alabama), plaintiffs         boundaries of Alabama to be actionable. See In re

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Defendants’ Argument        Plaintiffs’ Authority Summarized                         Plaintiffs’ Authority Distinguished
                           alleged transactions within the state,     Propranolol Antitrust Litig., 249 F. Supp. 3d 712, 728
                           see, e.g., State ex rel. Fitch v. Yazaki   (S.D.N.Y. 2017) (Alabama law requires “plaintiffs to allege
                           N. Am., Inc., 294 So. 3d 1178, 1189        intrastate price fixing conduct, i.e. that defendants actually
                           (Miss. 2020) (Mississippi), Standard       conspired or manufactured [the product] within the relevant
                           Oil Co. of Ky. v. State, 65 So. 468,       state”); In re Dealer Mgmt. Sys. Antitrust Litig., 362 F. Supp.
                           471 (1914) (Mississippi), In re Pork       3d 510, 550 (N.D. Ill. 2019) (Alabama antitrust laws “regulate
                           Antitrust Litig., 495 F. Supp. 3d 753,     monopolistic activities that occur ‘within this state’—within
                           779 (D. Minn. 2020) (Mississippi),         the geographic boundaries of [the] state” (citation omitted)).
                           or the wrongful conduct was “felt”
                           within the state, see, e.g., In re Cast    Mississippi: Plaintiffs concede the Mississippi Antitrust Act
                           Iron Soil Pipe & Fittings Antitrust        requires allegations of wholly intrastate conduct. (Appendix
                           Litig., No. 1:14-md-2508, 2015 WL          2.B (citing Yazaki, 294 So. 3d at 1189).) In Yazaki, the
                           5166014, at *25 (E.D. Tenn. June           Mississippi Supreme Court found it dispositive that plaintiff
                           24, 2015) (West Virginia).                 “did not allege any wholly intrastate transactions by the
                                                                      defendants.” 294 So. 3d at 1189 (emphasis added). Standard
                                                                      Oil is distinguishable because the plaintiffs there alleged
                                                                      specific instances where defendants resided and conducted
                                                                      business in Mississippi. See 65 So. at 470-71. Pork does not
                                                                      support plaintiffs’ position because the court there held that
                                                                      allegations that the product was sold indirectly via distributors
                                                                      throughout Mississippi and that Mississippi consumers paid
                                                                      higher prices were insufficient. 495 F. Supp. 3d at 779.

                                                                      West Virginia: While the court in Cast Iron Soil referenced
                                                                      “wrongful conduct . . . felt in West Virginia,” the court
                                                                      ultimately dismissed the plaintiffs’ claims because allegations
                                                                      that they purchased products at artificially inflated prices in
                                                                      West Virginia did not “meaningfully address intrastate
                                                                      commerce.” 2015 WL 5166014, at *25-26.
Indirect purchaser actions Plaintiffs argue that courts have          Arkansas: The Arkansas consumer protection statute
are barred under the       permitted indirect purchasers to           incorporates the “remoteness doctrine,” which requires a
consumer protection laws bring Arkansas Deceptive Trade               “direct link in between Defendants’ products and Plaintiffs’

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 Defendants’ Argument          Plaintiffs’ Authority Summarized                    Plaintiffs’ Authority Distinguished
of Arkansas, Missouri,        Practices Act claims. (Opp. at 48 &    damages.” Indep. Cnty. v. Pfizer, Inc., 534 F. Supp. 2d 882,
and South Carolina. (Br.      Appendix 2.C (citing In re Lithium     888-89 (E.D. Ark. 2008). Lithium Ion Batteries and the other
at 44-45.)                    Ion Batteries Antitrust Litig., No.    cases plaintiffs cite do not address whether indirect purchaser
                              13-MD-2420 YGR, 2014 WL                claims are barred in light of the importance of such a direct
                              4955377, at *22-23 (N.D. Cal. Oct.     link under Arkansas law. See 2014 WL 4955377, at *22; see
                              2, 2014)).)                            also In re Dairy Farmers of Am., Inc. Cheese Antitrust Litig.,
                                                                     No. 9 CV 3690, 2015 WL 3988488, at *17 (N.D. Ill. June 29,
                              Plaintiffs claim the Missouri          2015) (“In light of the importance of causation under Arkansas
                              Supreme Court held the Missouri        law, Indirect Plaintiffs’ remoteness problems in the antitrust
                              Merchandising Practices Act permits context also preclude their rebranded antitrust claims brought
                              indirect purchasers to bring antitrust under the Arkansas Deceptive Trade Practices Act[.]”).
                              claims. (Appendix 2.C (citing
                              Gibbons v. J. Nuckolls Inc., 216       Missouri: Gibbons is not persuasive because it was not an
                              S.W.3d 667, 669 (Mo. 2007)).)          antitrust case. Duvall v. Silvers, Asher, Sher & McLaren,
                                                                     M.D.’s, 998 S.W.2d 821 (Mo. Ct. App. 1999), is directly on
                              Plaintiffs assert that courts permit   point. There, the Missouri Court of Appeals held that
                              indirect purchaser claims under the    individuals who claim only indirect harm from an antitrust
                              South Carolina Unfair Trade            violation do not have standing to bring a claim under
                              Practices Act (“SCUTPA”).              Missouri’s Antitrust Law. Id. at 825.
                              (Appendix 2.C (citing Sandee’s
                              Catering v. Agri Stats, Inc., No. 20   South Carolina: Neither Sandee’s Catering nor Cast Iron
                              C 2295, 2020 WL 6273477, at *11        Soil addresses whether indirect purchaser claims can proceed
                              (N.D. Ill. Oct. 26, 2020); In re       under the SCUPTA despite the absence of an Illinois Brick
                              Generic Pharms. Pricing Antitrust      repealer statute. Sandee’s Catering, 2020 WL 6273477, at
                              Litig., 368 F. Supp. 3d 814, 840-41    *11; Cast Iron Soil, 2015 WL 5166014, at *32. And Generic
                              (E.D. Pa. 2019); Cast Iron Soil,       Pharmaceuticals does not analyze any South Carolina
                              2015 WL 5166014, at *32).)             authority. 368 F Supp. 3d at 840-41.
Price-fixing claims are       Plaintiffs cite cases holding that     District of Columbia: Plaintiffs fail to distinguish In re
not cognizable under the      price-fixing claims are cognizable     Graphics Processing, which holds that “pleading
consumer protection           under state consumer protection        unconscionability” under the District of Columbia Consumer
statutes of the District of   statutes. (Appendix 2.D (citing New Protection Act requires “more than merely alleging that the
Columbia, Arkansas,           Motor Vehicles, 350 F. Supp. 2d at     price of a product was unfairly high.” 527 F. Supp. 2d 1011,

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 Defendants’ Argument      Plaintiffs’ Authority Summarized                      Plaintiffs’ Authority Distinguished
Illinois, Michigan, New   182-83 (D.C.); In re Chocolate          1029 (N.D. Cal. 2007); see also In re Revlimid & Thalomid
Mexico, Oregon,           Confectionary Antitrust Litig., 602     Purchaser Antitrust Litig., No. CV 19-7532 (ES) (MAH), 2024
Pennsylvania, Rhode       F. Supp. 2d 538, 583 (M.D. Pa.          WL 2861865, at *110 (D.N.J. June 6, 2024) (dismissing D.C.
Island, South Carolina,   2009) (Arkansas and New Mexico);        consumer protection claim because the only support for
and South Dakota. (Br.    Generic Pharma., 368 F. Supp. 3d at     plaintiff’s claim was a conclusory allegation that defendant
at 46-48.)                845-47 (Michigan); Cast Iron Soil,      “engaged in unfair competition or unfair, unconscionable,
                          2015 WL 5166014, at *29 (New            deceptive, or fraudulent acts” (citation omitted)).
                          Mexico); In re Packaged Seafood
                          Prods., 242 F. Supp. 3d 1033, 1073      Arkansas: The cases plaintiffs cite to support their Arkansas
                          (S.D. Cal. 2017) (Oregon);              argument fail to consider relevant Arkansas authority. The
                          Connecticut v. Sandoz, Inc., No.        Arkansas consumer protection statute plainly does not extend
                          3:20-cv-00802(MPS), 2024 WL             to price-fixing claims, as many courts have held. See, e.g., In
                          4753308, at *22-23 (D. Conn. Nov.       re Lidoderm Antitrust Litig., 103 F. Supp. 3d 1155, 1166 (N.D.
                          12, 2024) (Pennsylvania); In re         Cal. 2015) (holding that “in [the] absence of authority from
                          Dynamic Random Access Memory            Arkansas courts that the ADTPA extends to price fixing
                          (DRAM) Antitrust Litig., 536 F          claims, those claims should be dismissed” and collecting
                          Supp. 2d 1129, 1145 (N.D. Cal.          cases); In re Static Random Access Memory Antitrust Litig.
                          2008) (Rhode Island); In re Pork        (SRAM), No. 07-md-0819 CW, 2010 WL 5094289, at *8 (N.D.
                          Antitrust Litig., No. 18-1776           Cal. Dec. 8, 2010) (“The Court has found no Arkansas case
                          (JRT/JFD), 2025 WL 964545, at *86       law indicating that the ADTPA reaches price-fixing conduct of
                          (D. Minn. Mar. 31, 2025) (South         the nature presented in this lawsuit.”).
                          Carolina); In re DDAVP Indirect
                          Purchaser Antitrust Litig. v. Ferring   Illinois: Plaintiffs fail to meaningfully distinguish defendants’
                          B.V., 903 F. Supp. 2d 198, 229          authority, and the weight of authority supports defendants’
                          (S.D.N.Y. 2012) (South Dakota)).)       position. See Butler v. Jimmy John’s Franchise, LLC, 331 F.
                                                                  Supp. 3d 786, 798 (S.D. Ill. 2018) (dismissing Illinois
                                                                  Consumer Fraud Act (“ILCFA”) claim because “the Illinois
                                                                  Supreme Court has instructed that plaintiffs cannot use the
                                                                  [ILCFA] to get around the fact that their theory does not fly
                                                                  under the Illinois Antitrust Act”); Laughlin v. Evanston Hosp.,
                                                                  550 N.E.2d 986, 993 (Ill. 1990) (“To construe the Consumer
                                                                  Fraud Act to give a cause of action for discriminatory pricing

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Defendants’ Argument   Plaintiffs’ Authority Summarized                      Plaintiffs’ Authority Distinguished
                                                              that the legislature refused to give under the Antitrust Act
                                                              would be incongruous [with the intent of the legislature].”); In
                                                              re Wellbutrin XL Antitrust Litig., 260 F.R.D. 143, 162 (E.D.
                                                              Pa. 2009) (dismissing ILCFA claim because “plaintiffs may
                                                              not assert what are essentially antitrust claims in the guise of a
                                                              claim under the Illinois consumer protection statute”).

                                                              Michigan: Generic Pharmaceuticals is distinguishable
                                                              because the plaintiffs there pleaded deceptive or
                                                              unconscionable conduct under the statute by alleging a
                                                              conspiracy “hatched in secret and maintained through
                                                              deception.” 368 F. Supp. 3d at 846. Here, plaintiffs do not
                                                              allege deceptive acts. Rather, they rely on public statements to
                                                              plead the alleged conspiracy. (See Opp. at 18-19.)

                                                              New Mexico: In Cast Iron Soil, the court held that price-
                                                              fixing claims are actionable under the New Mexico consumer
                                                              protection statute if plaintiffs “allege[] a ‘gross disparity’
                                                              between the price paid for a product and the value received.”
                                                              2015 WL 5166014 at *29 (citation omitted); see also Graphics
                                                              Processing, 527 F. Supp. 2d at 1029-30 (same); Chocolate
                                                              Confectionary, 602 F. Supp. 2d at 586 (same). Plaintiffs make
                                                              no allegations here regarding prices paid and value received—
                                                              let alone with regard to anything purchased in New Mexico.

                                                              Oregon: Packaged Seafood is distinguishable because the
                                                              plaintiffs “allege[d] affirmative misrepresentations regarding
                                                              and concealment of the alleged conspiracy[.]” 242 F. Supp. 3d
                                                              at 1084; see also In re Lidoderm Antitrust Litig., 103 F. Supp.
                                                              3d 1155, 1170 (N.D. Cal. 2015) (dismissing claim because
                                                              plaintiffs did not allege “unconscionable acts”). Plaintiffs here


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Defendants’ Argument   Plaintiffs’ Authority Summarized                      Plaintiffs’ Authority Distinguished
                                                              do not allege affirmative misrepresentations or concealment;
                                                              rather, they rely on public statements. (See Opp. at 18-19.)
                                                              Pennsylvania: Plaintiffs concede that they must allege
                                                              deception and false representations to bring a claim under
                                                              Pennsylvania’s consumer protection statute (Appendix 2.D),
                                                              yet plaintiffs cannot point to any such allegations in their
                                                              complaint. See Sandoz, Inc., 2024 WL 4753308, at *22-23
                                                              (“[P]rice fixing and market allocation agreements do not
                                                              intrinsically violate [Pennsylvania law.]”).

                                                              Rhode Island: DRAM is distinguishable because plaintiffs
                                                              there alleged “unfair or deceptive acts or practices, which
                                                              misled or deceived members of the public.” 536 F. Supp. 2d at
                                                              1145. Plaintiffs here do not plead that defendants misled or
                                                              deceived members of the public or engaged in conduct
                                                              “causing a likelihood of confusion.” Id.

                                                              South Carolina: Plaintiffs do not distinguish In re Aggrenox
                                                              Antitrust Litigation, which held that the SCUTPA cannot
                                                              “operate as a surrogate for antitrust law.” No. 3:14-md- 2516
                                                              (SRU), 2016 WL 4204478, at *9 (D. Conn. Aug. 9, 2016).
                                                              And In re Pork Antitrust Litigation does not support plaintiffs’
                                                              argument because the court there did not analyze whether
                                                              price-fixing claims are cognizable under SCUTPA. 2025 WL
                                                              964545, at *86.

                                                              South Dakota: DDAVP is distinguishable because the
                                                              plaintiffs there alleged fraudulent misrepresentations to the
                                                              Patent and Trademark Office and Food & Drug
                                                              Administration. DDAVP, 903 F. Supp. 2d at 229. Plaintiffs
                                                              here do not allege that defendants engaged in any deceptive
                                                              acts or made any misrepresentations.

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 Defendants’ Argument         Plaintiffs’ Authority Summarized                          Plaintiffs’ Authority Distinguished
Plaintiffs’ failure to       Plaintiffs argue that courts should          Illinois: In Avery, the court rejected the position that courts
allege in-state conduct      look to the “site of injury or               should focus on the “site of injury or deception.” 835 N.E.2d
compels dismissal of         deception” when analyzing whether            at 853. Instead, the court held that a “transaction may be said
their Illinois and New       conduct took place in Illinois.              to take place within a state if the circumstances relating to the
Hampshire consumer           (Appendix 2.E (citing Avery v. State         transaction occur primarily and substantially within that state.”
protection claims. (Br. at   Farm Mutual Automobile Insurance             Id. Rivera does not support plaintiffs’ position because that
48.)                         Co. 835 N.E.2d 801, 853-54 (Ill.             court recognized Avery’s holding that a court “must analyze
                             2005); Rivera v. Google Inc., 238 F.         whether the circumstances relating to the transaction occur
                             Supp. 3d 1088, 1101 (N.D. Ill.               primarily and substantially within Illinois.” Rivera, 238 F.
                             2017)).)                                     Supp. 3d at 1101 (citation omitted). And here, plaintiffs do not
                                                                          allege that defendants engaged in any transaction “primarily
                             Plaintiffs cite authorities holding          and substantially within Illinois.” See id.
                             that a New Hampshire consumer
                             protection claim is viable if the            New Hampshire: The weight of authority supports
                             alleged misconduct “had direct or            defendants’ position. See, e.g., Lithium Ion Batteries, 2014
                             indirect effects on the people of New        WL 4955377, at *22 (“[M]erely selling a good in New
                             Hampshire.” (Appendix 2.E (citing            Hampshire is not enough when the proscribed conduct occurs
                             Chocolate Confectionary, 749 F.              elsewhere.”); In re Pork Antitrust Litig., 495 F. Supp. 3d 753
                             Supp. 2d at 235).)                           at 789 (“The Court is persuaded by the weight of authority
                                                                          concluding that the territoriality clause requires more than
                                                                          mere sale of a product the price of which has been illicitly
                                                                          inflated by an alleged price-fixing scheme.”); In re Refrigerant
                                                                          Compressors Antitrust Litig., No. 2:09-md-02042, 2013 WL
                                                                          1431756, at *18 (E.D. Mich. Apr. 9, 2013) (dismissing
                                                                          consumer protection claim because plaintiff did “not allege
                                                                          that any unfair or deceptive act or practice took place in New
                                                                          Hampshire” and mere purchases in New Hampshire are
                                                                          insufficient); Wilcox Indus. Corp. v. Hansen, 870 F. Supp. 2d
                                                                          296, 305 (D.N.H. 2012) (allegations that harm occurred in
                                                                          New Hampshire alone were “insufficient” to state a claim).
Plaintiffs do not meet       Plaintiffs cite authority holding that       Unlike here, plaintiffs’ cited authorities involved allegations
Rule 9(b)’s heightened       these states’ statutes do not impose         pleaded with particularity of false or misleading

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 Defendants’ Argument        Plaintiffs’ Authority Summarized                        Plaintiffs’ Authority Distinguished
pleading standard for       Rule 9(b) pleading requirements.            representations, grossly excessive prices, or deception. In the
claims sounding in fraud,   (Appendix 2.F (citing Los Gatos             absence of any such allegations, plaintiffs here cannot meet a
as required under the       Mercantile, Inc v. E.I. DuPont De           “relaxed” Rule 9(b) standard purportedly embraced by the
consumer protection         Nemours & Co., No. 13-cv-01180-             Tenth Circuit, let alone the heightened Rule 9(b) standard.
statutes of Florida,        BLF, 2015 WL 4755335, at *24
Michigan, and               (N.D. Cal. Aug. 11, 2015) (9(b)             Florida: Courts that have analyzed this issue closely
Pennsylvania. (Br. at 48-   pleading requirements not required          recognize that Rule 9(b)’s heightened pleading standard
49.)                        where plaintiffs plead claims of            applies to Florida consumer protection claims. See Refrigerant
                            unfairness or unconscionability); In        Compressors, 2013 WL 1431756, at *21; In re Packaged Ice
                            re Vascepa Antitrust Litig. Indirect        Antitrust Litig., 779 F. Supp. 2d 642, 665 (E.D. Mich. 2011);
                            Purchaser Plaintiffs, No. 21-12061          Sunoptic Techs., LLC v. Integra Luxtec, Inc., No. 3:08-cv-878,
                            (ZNQ) (TJB), 2023 WL 2182046, at            2009 WL 722320, at *4 (M.D. Fla. Mar. 18, 2009).
                            *9 (D.N.J. Feb. 23, 2023) (9(b) did
                            not apply where plaintiffs alleged          Michigan: Courts analyzing Michigan consumer protection
                            defendant “deceived the public, its         claims apply the Rule 9(b) standard. See, e.g., Packaged Ice,
                            investors, and consumers by both            779 F. Supp. 2d at 666 (dismissing Michigan Consumer
                            misrepresentation and/or by                 Protection Act claim for “failure to allege an intent to deceive
                            withholding material information”);         and for failure to plead fraud with the requisite particularity”);
                            In re Fragrance Direct Purchaser            Home Owners Ins. Co. v. ADT LLC, 109 F. Supp. 3d 1000,
                            Antitrust Litig., Nos. 2:23-02174,          1009 (E.D. Mich. 2015) (“Because Plaintiff’s claim for
                            2:23-03249, 2:23-16127, 2025 WL             violation of the MCPA does not meet Rule 9(b)’s heightened
                            579639, at *21 (D.N.J. Feb. 21,             pleading requirements, this claim will be dismissed.”); Sheet
                            2025) (9(b) did not apply to                Metal Workers Loc. 441 Health & Welfare Plan v.
                            Pennsylvania consumer protection            GlaxoSmithKline, PLC, 737 F. Supp. 2d 380, 413 (E.D. Pa.
                            claims where plaintiffs alleged             2010) (dismissing claim because “plaintiffs have failed to
                            “[d]efendants misrepresented the            claim that [Defendant] made misrepresentations directed at
                            true cause of price increases for the       them or upon which they, as consumers, . . . relied”).
                            products they produced”)).)
                                                                        Pennsylvania: Plaintiffs do not distinguish New Motor
                            Plaintiffs also argue that even if          Vehicles, in which the court dismissed the plaintiffs’ consumer
                            Rule 9(b) applies, the Tenth Circuit        protection claim because the complaint contained no
                            recognizes a relaxed 9(b) standard in       allegations of fraud or deception. 350 F. Supp. 2d at 200-01.

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Defendants’ Argument         Plaintiffs’ Authority Summarized                     Plaintiffs’ Authority Distinguished
                            consumer fraud cases. (Appendix
                            2.F (citing In re EpiPen
                            (Epinephrine Injection, USP) Mktg.,
                            Sales Pracs. & Antitrust Litig., 336
                            F. Supp. 3d 1256, 1341-42 (D. Kan.
                            2018)).)
Plaintiffs fail to allege   Plaintiffs cite cases purportedly        Arkansas: The plain language of the Arkansas statute
reliance as required        holding that reliance is not required    requires reliance, which plaintiffs here do not allege. Philip
under the Arkansas and      under the Arkansas statute.              Morris and Chocolate Confectionary were decided before the
Pennsylvania consumer       (Appendix 2.G (citing Philip Morris      2017 amendment to the statute requiring proof of reliance.
protection statutes. (Br.   Cos., Inc. v. Miner, 462 S.W.3d 313,     And Pork analyzed the prior version of the statute,
at 49-50.)                  319 (Ark. 2015); In re Chocolate         acknowledging that the statute was amended in 2017 to require
                            Confectionary, 602 F. Supp. 2d at        proof of reliance. 495 F. Supp. 3d at 781. In Fragrance, the
                            583; Fragrance, 2025 WL 579639,          court did not address whether reliance is required under the
                            at *21; Pork, 495 F. Supp. 3d at         Arkansas statute. 2025 WL 579639, at *21.
                            781).)
                                                                     Pennsylvania: The Pennsylvania Supreme Court’s holding in
                            Plaintiffs also argue that Toy v.        Toy is broader than plaintiffs suggest, as the court plainly held
                            Metro Life Insurance Co. limits the      that “a plaintiff alleging violations of the Consumer Protection
                            Pennsylvania consumer protection         Law must prove the common law fraud element of justifiable
                            law’s reliance requirement to claims     reliance.” 928 A.2d 186, 208 (Pa. 2007). Fragrance is
                            sounding in fraud. (Appendix 2.G         inapplicable because that court did not address whether
                            (citing Fragrance, 2025 WL               reliance is required under the Pennsylvania statute. 2025 WL
                            579639, at *22).)                        579639, at *22.
Indirect purchasers who     Plaintiffs argue that the                Plaintiffs do not dispute that plaintiff Waypoint Residential,
made purchases for          Massachusetts Supreme Court has          LLC is not a proper plaintiff because it is an indirect purchaser
business or commercial      held that indirect purchasers may        of refined petroleum products for business or commercial use.
purposes are not proper     bring Massachusetts Consumer             Plaintiffs’ reliance on Ciardi is misplaced because the Ciardi
plaintiffs under the        Protection Act claims. (Opp. at 44       plaintiff was not a business purchaser. 436 Mass. at 66.
Massachusetts Consumer      (citing Ciardi v. F. Hoffman-La-
Protection Act. (Br. at     Roche, Ltd., 436 Mass. 53 (Mass.
45.)                        2002)).)

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